         Case 8:06-cr-00281-JSM-MAP Document 74 Filed 09/27/07 Page 1 of 6 PageID 192
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                        JUDGMENT N A CRIMIiVAL CASE
                                                                CASE NUMBER         8:06-cr-281-T-30MSS
                                                                UShi \'UMBER:       48819-01 8



ALEJANDRO VELA FUERTE
&a ALEJANDRO VlLLA MORALES
                                                                Defendant's Attorney: Ronald Marzullo, cja.



-
X pleaded guilty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE &: SECTIOh                    NATURE OF OFFENSE                              OFFENSE ENDED                     COC;NT
46 Appendix U.S.C.      1903(a),    Conspiracy to Possess With Intent to           July 6,2006                          One
1903(g) and 1903 (j) and            Distribute Five Kilograms or More
21 U.S.C. $960 (b)(l)(B)(ii)        of Cocaine While on Board a Vessel
                                    Subject to the Jurisdiction of the
                                    United States


       The defendant IS sentenced asprov~dedmpages 2 through 6 0fthIsjudgment. The sentence n unposed pursuant to the Sentencing
Refom1 Act of 1984

-The defendant has been found not gn~ltyon count(s)
- Count(s) (~s)(are)dlsmssed on the motion of the United States
IT IS FUR'TIIER ORDERED that the defeudant must notify the United States Attomey for this district within 30 days of any change of
name, residence, or inailin:: address until all finesl restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and i J ~ t e dStates Attorney of any material change in economic
circumstances.


                                                                                   Date of lrnpas~tlonof Sentence: September 26.2007




                                                                                   J.&$s.        MOODY, JR.         [         /


                                                                                   DATE: ~eptember     n,       2007
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4 0 215B (Rev 0 6 0 5 ) Sheet 2 - lniprisonment (Judgment in a Crim~nalCase)
I>cSendant:          ALIiJANDRO VlLLA FLTERTE                                                         Judgment - Page 2of (,
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        -1f'tt.r considering thc advisory sentcncing guidelines and all of the factors identified in Title 18 [Y.S.C. 38
3553(a)(l)-(7), the court t'inds that the sentericc imposocl is sufficient, but not greater than necessary, to comply with
the statutory purposes of scntenci~ig.


           'The defendant is herchy conlmitteci to tlic cirstody ol'the U~litedStates Bureau ot'l'risons to be imprisoned for
           ~ l of SISETY-S1.I\'ES (97) illOSTIIS as to each of ( ' o m t Oric of the Irldictrnent.
  ~ o t ; tern1




X The court ~ n a l i e ;tilt: folloiving reconmenclatiol~sto the Bureau of 13risons: The defendant shall be placed at FCI Colcman.
--
If placement at FCl ('olenmn is not a\-ailablc. the defendant shall be placcd at a co~rectio~lal
                                                                                              facility who offers participation In the
UVICOK proganl. If possible, the defendant shall not be placed in a cold location. The Court further reconnl~enclsthat the
defendant participate in an educatioilal progam specializing in computers, refi-igcr:lticm or diesel mechanics.



  A' The deferdant I S :-e1n;tniled to tlic custody of thc Llnitcd States Marshal.
- --
- Tlic dcfcn.i 11-t shall sur~endcrto the United States Marshal for ~ h i district.
                                                                           s

          - a1 - a.m./p.ni. on -.
          - 3s notified by the Unitcd States Mnrshal.

- The defend.mt shall surrender for service of senlence at ihe institution designa~ctiby the B L I I ~ofL Prisons.
                                                                                                          I




           I have executed this Judgment as follo~vs:




           Defendant delivered on                                                to
- at                                                                     , with a certified copy of'this judgment.



                                                                                      United State.; Marshal

                                                                           By:
                                                                                              D e p ~ ~United
                                                                                                       ty     States hlarshal
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\(I245B (Re\. M'05) Shcst 3 - Supervised Kclease (Judgnient In 3 Criminal Case)
Defendant:             Ai,I~JXNDRO \'lLLA FL'ERTE                                                         Judglncnt - Pagc 3of (,
Casc No.:              8:1)0-c1.-281 -1'-3OVSS
                                                             SLPERVISED RE 1,EASE

                                                        t , d e f e t i d a n t shall be on supervised rc1e:lse for :I term o t ' l W E (5) YEARS a s t o C'ount
           Upon release frorn i n ~ p r i s o n m e ~ ithe
O n e of tlic Indictment,

            Tlie di.fmdnnt nils st report to the pl-obation office in the district to wliic11 the defendant is released within 72 Iiours of rvlease fi-om
                   l
                   k
   c i ~ s t ~ o~fl > - BLII~ : I Lo fI Prisons.
111~-


'The defendant shall not commit another federal, state, o r local crime. The defendant shall not iinla\\fully possess a controlled substance.
T h e defendant shall rcfrain from any unlawful use o f a controlled substance. The defendant shall submit to one drug test within 15 days
o f release from imprisonnnent and at least two periodic drug tests thereafter, as detcrmined by the court.


            rlie dffe:ld3nt shnll not possess a Greaml. destructive devicz, or any other dangeroils lveapon.

            T h e dcfenciailt shall cooperate in the collrctiorl of DNA as directcd b j the probation officer.


             If this judginent inlposcs a fine or restitution it is a condition of supervised release tlirit the defeiltlant pay in accordanct. with the
             Schedule of Payments sheet o f this judgment.

             T h e defenclnnt niujt coinply with 1he stantlard conditions that havc been acloplecl by this court as well as with any additional
             co11dit;ons on :hc attached page.

                                                   ST.-\SI)ARD CONDITIONS OF S111'ERVISIOS
             the defendant shall not Icdve the judicial district without thc pcnnission of the court or probation officer;

             the defendant shall report to the probation officer and sliall submit a truthful and coniplete written report n-ithin the first five days of each
             moiitli;

             t'le dcf?nd:m. sl all mswcr truthfull> all inquiries by the psobation officer w d follow the instructions of the probation officer;

             the dcfendan~shall support his ur hcr- dcpenclents and niec~otlic'r f a ~ n ~responsibil~tics;
                                                                                          ly

             the defendant shall work regularly at a lawful occupation, irnless excused by the probation oMicer for schooling, training, or other
             acceptable rcasons;

             the defendant shall notify the probation officer at least ten days prior to any zhmgc in residence or cniploynicnt;

             t l ~ edcfmdmr shall rcfi-ain from exccssi.,,:eusc of alcohol and shall not pur;haso. posscss, use, diitributc, or adniinister any controlled
             si.bst:mc or :my paraphernalia rclarcd 10 nny controlled substances, csccpt :IS prcscrihed by a physician;

             tlic dcfcndanr shall not fscquenr places jvhe~econtrolled substances arc iilcplly sold, used. di:tributed. or admm~stcrcd:

             the dcfendant shall not associate with any persons engaged in csiminal activity and shall not associate with any person convlctcd of a
             fclony, unlcss granted permission to do so by thc psobation officer;

             the dcfe~d:mrshall permit a probation officcr to vis~thirii or her at any time Lithomc or elscwherc and shall penn~tconfixat~onof any
             cortr,ll?~ndoi>s~neclin plain vicw of the probation olliccr;

              the dcfcndmt shall I-otll). the probarlon officer withm sevcnty-two Iiouss of selng asrtsted or quest~oncclb! a la\\ cnforccmenl officer,

              thc defendant shall not cnter Into any agreement to x r us an informer clr a special agent of it law enfo~.ccmcntagency without the
              permission ol'thc court; and

              ns dirzcted by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the dcfcndmt's cr~mlnalrecord
              or personal history or cl?aractcrisrics arid shall permit thc probation officcr to make such notifications and to confilm the defendant's
              complinncc \: it11 such noti fjcation rcquircnicnt.
        Case 8:06-cr-00281-JSM-MAP Document 74 Filed 09/27/07 Page 4 of 6 PageID 195
A 0 245B (Rev. 06/05) Shect 3C - Supcrvised Releasc (Judgment in a Criminal C'asc)
                                                                                                        -   -



Dclendant:         ALEJANDRO VILLA FUERTE                                                      Judgment - Pri,oc 3of
C'ase So.:         8:06-cr-2s I -T-3OMSS

                                        SPECIAL CONDIrTIONSOF SUPEIWISION

         The defendant shall also comply with the following additional conditions of supervised rdease:

x
-        Should the defecdant be deported, lie!she shall not be allowed to reenter the United States witllout the express perndssion of
         the appropriate gover-~inientalauthority.

x
-        The clefcndant sllaI1 cooperate in the collection of DNA as directed by the probation officer.

-
?i:      Thc imiidatory d n ~ gbesting ~ I ~ O V I S ~ Oshall
                                                         I I S apply pursuanl to the \-iolcnt Csime Control .Act. The Court orders random dl-uy
         testing not to exceed 104 tests per year.
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 A 0 215B (lit\! 06i05) Shect 5 - Criminal Monetary Penalties (Judgment in a Criminel Casc)

 L k fendant:           ALE.l.WDR0 VILLA FUERTE                                                      Judgment - Page 5 01' 6
 Case No.:              8:06-cr-25 1 -T-30MSS




              T112 dcfe~:dantlnusi pay the total criminal monetal-y penalties under the schedule of papients on Sheet 6.
                                  Asscssnien t                          Fine                         Total Restitution

              Totals:             $100.00                               \Vaived                      N/A




 -            The defendant must inake restitution (ilicluding community sestitutioii) to the following payees in the amount listed
              below.
               If the defendant makes a partial payment, each payee shall I-eceivznn approximately propostionec! payment, unless
               specified otherwise in the priority order or pel-centage payment column bclow. I Iowever, pursuant to 1 8 IJ.S.C'.
               ?664(i), all non-federal victims nus st be p;id before rhe United Statzs.


 Na nlc of' 1% w e                                    Total I,oss*                Itcstitu tioil Ordered                Priority or Pcrccntagc




               Restitution amount ordered pursuant to plea agreement S
               The defendant must ay intzrest on a fine or restitution ofmore than 52,500, mless the restitution or fine is paid in full
                                    d-'
               before the fifteenth ay after the date of the judgment, pursuant to 1 E LI .S.C1. S; 3612(t). All of the payment options on Sliect
                                                                                      to~I~8 U.S.C. 5 36 l2(g).
               6 may be subjcct to penalties for delinquency and default, y u r s u ; ~

               T h z court dztcrn~ii~ed
                                     that the delendrtnt does not have the ability to pay intcrcst and i t is ordered that:

             -          the interest requiseinent is \\.aivud for the     fine        restilution.
             -          the interest requirement for the - flns - rzstitution is n~odiiiedas follows:


 :    Filldings For thf tola: a:nouut of losses arc required under Chapters 109.4, 1 10, 1 1 OA, and 1 13.4 of Title 1 S for tlie ofltnses conmlirted
01-    0:- after St.ptembc.r 17. 1994, but before April 23, 1996.
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A 0 245B (Re\ 06/05) Shuct 6 - Schedule of Paymmts (.lud,oment in a Criminal Casc)

!I; fcndant :      ALEJAhDRO VILLA FUERTE                                                    .ludgment - Page        of 6
( 3 ~NO.:
        s ~        8:0(1-c--23 1 -T-30MSS



                                                   SCHEDULE OF PAYhIEKTS



,T iviilg :issessed tlic dekndant's ability to pav, paylnent of the tot:il criminal monetary penalties are due as follows:

                   Lu~npsum payment of 5 100.00 due immediately, balance due
                             -not later than                  , or

                             -in accordance            C. - D, - E or - P'below; or
                   Pa! m:nt lo besin in11ned:ately (may bc combined with ,                 - D. or -F below); or
                   P:ijrnient in equal                  (e.g., iveekly. ~nonthly.yual-terllr) installments of S            over a period
                   of            (e.g., months or ].ears), to colmnenctj            dajrs (e.g., 30 01- 60 days) a f e r the datc of this
                   judgment; or
                   Payment in equal              ( e g . weekly. n1onthly: quarterly) installments of S           oiler a period of
                               , (e.g.. months or years) to colnmencc                      (e.g. 30 or 60 days) after I-eleascfT011i
                   iiilpsiso~unen~to a term of supervision; or
                   Pa) nxnt il~ringthe term of supervised release >\;ill commence within                    (e.g., 30 or 60 days)
                   after selease fi-om imprisonment. The court \\:III set the paynlent plan based o n an assessment of tlie
                   defenilan~'~ ability to pay at that time, or
                   Special inst1-uctions regarding the payment of criminal moneta~y penalties:




                               osdered otherwise. if this judgment imposes imp-isonmsnt. p q n e n t of criminal monetary
Unless tlie court has esl~l-e~ily
penalties is due during imprisonment. All criminal monetary penalties. except those payments made throug11 the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
'The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

-         Joint arid Scveral
       L k f sl;dr~ni and Co-Ds fcndant Names and Case Nun~bers( i~icludingdefendant number). Total Amount. Joint and
Su\wal i h o ~ l n tand
                    , corresponding payee, il'appropriate:


-         The defendant shall pay the cost of'prosecutioii.

-         The defendant shall pay the following court cost(s):

X
-         'The Jeftncl.lnt sh;dl forfeit the defendant's intei-est in the following property to the lhited States:
        'The Court orders that the defendant fot-kit to the United States immediately and voluntarily any and all assets and
property. or portions thereof, s~ibjcctto forfeiture. which are in the possession 01-control ol'the defendant or the drfcndant's
nominees.
Payments shall be applicd in the following order: (1) assessment. (2) restitution principal, (3) restihition interest, (4) fine principal. (5)
tine interest, (6) comnunity restihition, (7) penalties. anti (8) costs. including cost of prosecution and court costs.
